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         AO
          AO450
             450(GAS
                 (GASRev
                     Rev.09/20)
                          6/03) Judgment in a Civil Case



                                      United States District Court
                                                Southern District of Georgia

                  JOHNIE MINCEY,

                                                Plaintiff,                         JUDGMENT IN A CIVIL CASE


                                           V.                                    CASE NUMBER:           CV621-048


                  THE GREEN TOAD, LLC, et al.,

                                                Defendants.




                    Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury
                    has rendered its verdict.

                    Decision by Court.This action came before the Court. The issues have been considered and a decision has been
            ✔
                    rendered.

                     IT IS ORDERED AND ADJUDGED
                     that, in accordance with this Court's Order entered April 7, 2022, granting Plaintiff's motion for

                     default judgment, judgment is hereby entered in favor of Plaintiff in the amount of $12,293.90 in

                     damages, including $4,062.95 in compensatory damages for lost income, $4,062.95 in liquidated

                     damages pursuant to the FLSA, and $4,168.00 in attorneys' fees and costs. This case stands closed.




                  4/7/2022                                                     John E. Triplett, Clerk of Court
           Date                                                                Clerk



                                                                               (By) Deputy Clerk
GAS Rev 10/2020
